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  IT IS ORDERED as set forth below:



   Date: August 19, 2020
                                                         _________________________________

                                                                  Barbara Ellis-Monro
                                                             U.S. Bankruptcy Court Judge

 ________________________________________________________________


                        UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION

IN RE:

LA Property Investments LLC,                               CASE NO. 20-66891-BEM

         Debtor.                                           CHAPTER 11

Nancy J. Gargula, United States Trustee,

         Movant,

v.                                                         Contested Matter
LA Property Investments LLC,

         Respondent.

                                           ORDER

              This matter comes before the Court on Movant’s Motion to Dismiss (the

“Motion”) [Doc. 12]. A hearing was held on the Motion on August 18, 2020. Debtor failed to

appear at the call of the calendar at 11:00 AM, but the matter was revisited at 3:00 PM. Debtor

appeared at the hearing through its counsel, Sims Gordon. Movant appeared at the hearing
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through her counsel, Vanessa Leo. Testimony was heard from Debtor’s principal, Lemarcus

Allison. For the reasons announced on the record at the hearing, it is hereby

                 ORDERED that the Motion [Doc. 7] is DENIED WITHOUT PREJUDICE; it is

further

                 ORDERED that Debtor SHALL PROVIDE the following documents to Movant

no later than September 1, 2020, and where appropriate, file them on the docket in the above-

captioned bankruptcy case, or the case may be DISMISSED without further notice or hearing:

          (1) Monthly Operating Report for June 2020;
          (2) Schedules A/B through H;
          (3) the Statement of Financial Affairs;
          (4) the Summary of Assets and Liabilities;
          (5) the Declaration Under Penalty of Perjury;
          (6) the Corporate Resolution;
          (7) the lists of 20 Largest Unsecured Creditors and Equity Security Holders; and
          (8) all documents concerning transfers of property into the Debtor; it is further

                 ORDERED that Debtor SHALL file the Monthly Operating Reports for July and

August 2020 on or before September 20, 2020 and thereafter as they become due.

                                         END OF ORDER




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